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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                                                                  c4 lo. t? Lr J (T/ H6
 UNITED STATES OF AMERICA.                            )   INDICTMENT
                                                      )
                      Plaintiff.                      )   18   u.s.c.   $2
                                                      )   18 U.S.C.     $ e2a(c)(lxAxii)
               v.                                     )   18 u.S.C.     $ e2a(cXl)(Axiii)
                                                      )   18 u.s.C.     $ e8l(aXlXc)
 (1) DEVON DWAYNE REGTNALD             GLOVE&         )   18 U.S.C. $ r9sl
      a/Wa"Chiraq," and                               )   2I U.S.C. $ 853(p)
                                                      )   28 U.S.C. $ 2461(c)
 (2) MARSHAWN MICHAEL DAVISON,                        )
                                                      )
                      Defendants.                     )

       THE UNITED STATES GRAND JURY CHARGES THAT:

                                        COUNT    1
                        (Interference with Commerce by Robbery)

       On or about June 16. 2020. in the State and District of Minnesota. the defendants.

                     DEVON DWAYNE REGINALD GLOVER,
                             alWa"Chiraq," and
                       MARSHAWN MICHAEL DAVISON,

aiding and abetting and being aided and abetted by one another, did unlawfully obstruct,

delay, and affect commerce as that term is defined in Title 18, United States Code, Section

1951, and the movement    of articles and commodities in such commerce, by robbery,           oS


defined by Title 18, United States Code, Section     l95l(bxl), in that the defendants did
unlawfully take and obtain personal property consisting of U.S. currency, the personal

property of the Penn Lake Roast Beef restaurant, 8911 Penn Avenue South, Bloomington,

Minnesota, a commercial business then engaged in interstate commerce, from the person

and in the presence of a victim employee, against the employee's        will by means of actual

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                                                                                                        MPLS
                                                                                    U.S. DISTRTCT COURT
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and threatened force, violence, and fear of injury, immediate and future, to the employee's

person, all in violation of Title 18, United States Code, Sections 2 and 1951.

                                        COUNT 2
           (Discharging a Firearm During and in Relation to a Crime of Violence)

        On or about June 16, 2020, in the State and District of Minnesota, the defendant,

                          DEVON DWAYNE REGINALD GLOVER.
                                   alWa"Chirzq,"

did knowingly discharge, carry, and use a firearm during and in relation to a crime of

violence for which he may be prosecuted in a court of the United States, that is, interference

with commerce by robbery, as alleged in Count I of this Indictment; in violation of Title

18, United States Code, Section         92a(cXlXA)(iii).

                                            COUNT 3
                             (Interference with Commerce by Robbery)

        On or about June 23. 2020. in the State and District of Minnesota. the defendant.

                          DEVON DWAYNE REGINALD GLOVER.
                                              a/Wa"Chiraq,"

did unlawfully obstruct, delay, and affect commerce as that term is defined in Title          18,

United States Code, Section 1951, and the movement of articles and commodities in such

commerce, by robbery,        &S   defined by Title 18, United States Code, Section 1951(b)(1), in

that the defendants did unlawfully take and obtain personal property consisting of U.S.

cuffency, the personal property of the McCafferty Liquors store, 1325 Randolph Avenue,

St. Paul, Minnesota, a commercial business then engaged in interstate commerce, from the

persoq and in the presence of a victim employee, against the employee's         will by means of




                                                        2
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actual and threatened force, violence, and fear of injury, immediate and future, to the

employee's person, all in violation of Title 18, United States Code, Section 1951.

                                                 COUNT 4
           (Brandishing a Firearm During and in Relation to a Crime of Violence)

        On or about June23,2020, in the State and District of Minnesota, the defendant,

                          DEVON DWAYNE REGINALD GITOVER.
                                   alWa"Chiraq,"

did knowingly brandish, carry, and use a firearm during and in relation to a crime of

violence for which he may be prosecuted in a court of the United States, that is, interference

with commerce by robbery, as alleged in Count 3 of this Indictment; in violation of Title

18, United States Code, Section 92a@)Q)(AXii).




                                              A TRUE BILL



UNITED STATES ATTORNEY                                  FOREPERSON
